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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK




 IN RE GOOGLE ADVERTISING ANTITRUST
                                                       Case No. 1:21-md-03010 (PKC)
 LITIGATION
                                                       ORDER FOR ADMISSION
                                                       PRO HAC VICE



       The motion of Sean P. Rodriguez, for admission to practice Pro Hac Vice in the above

captioned action is granted.

       Applicant has declared that he is a member in good standing of the bar of the State of

California; and that his contact information is as follows:

       Applicant’s Name: Sean P. Rodriguez

       Firm Name: Boies Schiller Flexner LLP

       Address: 44 Montgomery Street, 41st Floor

       City/State/Zip: San Francisco, CA 94104

       Telephone/Fax: Tel.: (415) 293-6800 / Fax: (415) 293-6899

       Email: srodriguez@bsfllp.com

       Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel

for Plaintiffs Genius Media Group, Inc., The Nation Company, L.P., and The Progressive, Inc. in

the above entitled action;

       IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in the

above captioned case in the United States District Court for the Southern District of New York.




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All attorneys appearing before this Court are subject to the Local Rules of this Court, including

the Rules governing discipline of attorneys.




Dated: __________________________                   _____________________________
                                                    United States District Judge




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